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 7
                               UNITED STATES DISTRICT COURT
 8                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
 9
10   IN RE: VOLKSWAGEN “CLEAN DIESEL”              Case No. 3:15-md-02672-CRB
     MARKETING, SALES PRACTICES, AND
11   PRODUCTS LIABILITY LITIGATION
12
13
     This Document Relates to:           )         Case No. 3:17-cv-05153
14                                       )
15   MARK AZAM et al.                    )
                                         )
16   Plaintiffs                          )
                                         )         PLAINTIFFS’ MOTION FOR AN
17                                       )         ORDER REMANDING THIS CASE TO
18                                       )         TEXAS STATE COURT
                                         )
19                                       )
                                         )
20                                       )
21                                       )
                                         )         The Honorable Charles Breyer
22   vs.                                 )
                                         )         Date:
23                                       )         Time:
24   VOLKWAGEN GROUP OF AMERICA,         )
     INC. et al.                         )         Complaint Filed: October 14, 2015
25                                       )
     Defendants                          )
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 1                                                MOTION
 2          Plaintiffs respectfully move the Court for an order remanding this case to the District Court
 3   for Travis County, Texas, the state court from which it was removed. First, there is no subject
 4   matter jurisdiction based on diversity of citizenship because Plaintiff Jo-Ann Beveridge is, and has
 5   been since September 1, 2016, a citizen of the Commonwealth of Virginia and thus has the same
 6   citizenship as Volkswagen Group of America, Inc., which maintains its principal place of business
 7   in Virginia. As this Court is well aware, in order to remove a case on the basis of diversity
 8   jurisdiction, there must be a diversity of citizenship both at time of the filing of the complaint and
 9   at the time of removal. See Strotek Corp. v. Air Transp. Ass'n. of Am., 300 F.3d 1129, 1131–32
10   (9th Cir. 2002) (“Thus, we start with the core principle of federal removal jurisdiction on the basis
11   of diversity—namely, that it is determined (and must exist) as of the time the complaint is filed
12   and removal is effected.”). Because there is no diversity of the parties, this Court lacks jurisdiction
13   over this matter and must remand this case back to state court.
14          Second, this motion is based upon the grounds that this action was improperly removed
15   pursuant to 28 U.S.C. § 1446(c)(1), which prohibits removal upon the grounds of diversity
16   jurisdiction more than one year after the commencement of a lawsuit. The Notice of Removal
17   filed by Defendant Volkswagen Group of America, Inc. was filed almost 22 months after the
18   commencement of this action and was thus improper.
19          The motion is based upon the memorandum of points and authorities, the Declaration of
20   Craig M. Patrick filed concurrently herewith, and upon such other and further oral or documentary
21   evidence as may be adduced at the hearing of the motion.
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     Dated: September 14, 2017
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 2                                     Respectfully submitted,

 3
                                       /s/ Charles Miller________________
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14
                                       ATTORNEYS FOR PLAINTIFFS
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             Case 3:15-md-02672-CRB Document 3800 Filed 09/14/17 Page 4 of 4




 1                                    CERTIFICATE OF SERVICE
 2
            I hereby certify that on the 14th day of September 2017, I filed the foregoing from the
 3
     Service List and a copy of has been served on all Parties required to be served by electronically
 4
     filing with the Clerk of the Court of the U. S. District Court for the Northern District of California,
 5
     San Francisco Division, by using the CM/ECF system. In addition, Plaintiffs provided a copy of
 6
     the foregoing to the following persons via email:
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 8          Via email at vhartline@hdbdlaw.com
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                                           /s/ Charles Miller
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